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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 WAN MARTINEZ, JOSE PIMENTAL, CARLOS
 CONTRERAS, EFRAIN REYES and JOWANY                           STIPULATION AND ORDER
 CASTILLO,,                                                   OF DISMISSAL

                                                Plaintiff(s), Case No. 21-cv-          FILED
                                                                                       CLERK
                                                              03613(GRB)(JMW)
                           -against-                                         1:39 pm, Apr 25, 2024
                                                                                    U.S. DISTRICT COURT
 FELIKS & SON STORAGE TANK CORP., FELIKS &
                                                                               EASTERN DISTRICT OF NEW YORK
 SON SERVICES, LLC AND FELIKS SWIERZEWSKI,,
                                                                                    LONG ISLAND OFFICE

                                   Defendant s .
         IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned counsel

that, pursuant to Federal Rule of Civil Procedure   (a)(l )(ii) that this action be dismissed with

prejudice, subject to the terms of the Settlement Agreement between the parties.

 Dated: October 27, 2023                            Dated: October 27, 2023

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 Attorneys for Plaintiff(s)                         Attorneys for Defendant(s)
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                                       ORDER OF DISMISSAL

Pursuant to the stipulation of the patties under Feoeral Rule of Civil Procedure 4l(a)(l)(ii), IT
IS ORDERED THAT THIS ACTION BE, AND HEREBY IS, DISMISSED WITH PREJUDICE,
subject to the tenns of the Settlement Agreement between the patties, which is expressly
incorporated by reference herein.

The Clerk is directed to close the file.

                                                     So Ordered:

                                                      Isl Gaty R. Brown
Dated:     4125/2024
                                                     Ga1y R. Brown, U.S .D.J.
